 Case 4:23-cv-00772-O-BP Document 32 Filed 09/11/23                    Page 1 of 1 PageID 166



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

MICHAEL MOATES,                                  §
                                                 §
       Plaintiff,                                §
                                                 §
v.                                               §     Civil Action No. 4:23-cv-00772-O-BP
                                                 §
STATE OF NORTH CAROLINA, et al.,                 §
                                                 §
       Defendants.                               §

                                              ORDER

       Before the Court is Plaintiff Michael Moates’s Motion for Extension of Time to Respond

to Defendant State of Texas’s Motion to Dismiss, filed September 9, 2023. ECF No. 31. Texas

filed a motion to dismiss on August 28, 2023. ECF No. 16. Moates requests an extension until

October 9, 2023, to respond to the motion by filing an amended complaint. For good cause shown,

and noting that the State of Texas does not oppose the request, the Court GRANTS Plaintiff until

October 9, 2023, to file a response to the Motion to Dismiss (ECF No. 31).

       If Plaintiff elects to respond to the Motion, or a future filing by the State of North Carolina,

by filing an amended complaint, Plaintiff shall comply with the requirements of the Federal Rules

of Civil Procedure and the Local Civil Rules of the Court in any such filing.

       It is so ORDERED on September 11, 2023.




                                                   ______________________________________
                                                   Hal R. Ray, Jr.
                                                   UNITED STATES MAGISTRATE JUDGE
